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    1                                                  THE HONORABLE AVERIAL ROTHROCK

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10                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                                   IN AND FOR KING COUNTY
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         HENRY T. TANG, an individual,
13                                                          CASE NO. 19-2-30690-4 SEA
14
                                 Plaintiff,
15                                                          COMPLAINT
                         V.
16

17       ary OF SEATTLE, a Washington
          municipality
18


19                               Defendant.

20

21

                                       I.     STATEMENT OF THE CASE
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                This action is brought against the City of Seattle under the Washington Law Against

24       Discrimination ("WLAD"), RCW 49.60, and specifically the prohibitions against disability

)5
         discrimination by employers under RCW 49.60.180(3) and the prohibitions against discrimination
26
         and retaliation for using protected leave under RCW 49.78.300.



          COMPLAINT -- Page I                                                      VANGUARD LAW, LLC

          Case No.: 19-2-30690-4 SEA                                                    PO BOX 939
                                                                                    POULSBO WA 98370
                                                Exhibit A                           Office (206) 488-8344
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 1          The City of Seattle has discriminated against Mr. Tang as a result of him taking medical

     leave for a temporary disability due to a serious medical condition. The City failed to provide him

3
     with reasonable accommodations for his disability and denied him due process in his termination
4
     proceedings. Through this action, Mr. Tang seeks to obtain a full recovery for his losses,
5


6                           11.    PARTIES, JURISDICTION AND VENUE

            2.1     Plaintiff Henry Tang is an individual residing in King County, Washington.

            2.2     Defendant City of Seattle is a municipality of the State of Washington, subject to
 9
     suit under RCW 4.96.
10

            2.3     Plaintiff has met the requirements of RCW 4,96,020 as a prerequisite to suit.
11

12          2.4     This Court has original jurisdiction in this matter pursuant to RCW 2.08.010,

13          2.5     Venue is proper in King County pursuant to RCW 4.12.020.

14


15
                                   III.   FACTUAL ALLEGATIONS
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            3.1     Mr, Tang was an employee of the City of Seattle, working as a licensed engineer
17
     and a project engineer,
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            3.2     During the course of his employment, Mr. Tang requested and utilized protected.
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20   leave for his own serious health condition.

            3.3     Defendant City of Seattle imposed discipline on Mr. Tang as a result of his use of
??
     protected leave.
23
            3.4     In December 2017, Mr, Tang, requested and was granted medical leave as an
24
     accommodation for a temporary disability due to his serious medical condition.
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26




      COMPLAINT Page 2                                                              VANGUARD LAW, LEX

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1           3.5     However, Defendant's Human Resources department informed Mr. Tang that they

     would not be able to keep his job position open since it would be an undue hardship.
3
             3.6    In fact, keeping Mr. Tang's position open for a limited amount of time for his leave

     would not pose an undue hardship for the City.

             3.7    Defendant indicated that they would look for an equivalent position for him when
6
     he returned from medical leave. The City failed to look for an equivalent position.
7

8
             3.8    Instead, after approximately one month of his medical leave, Defendant informed

9    Mr. Tang that they had found a part-time receptionist position and offered it to him as a permanent

10   job replacement.
11
             3.9    This position was not an equivalent position because it was not full-time and its
12
     compensation was substantially lower than Mr. Tang's compensation in his work position.
13
             3,10   Mr, Tang informed Defendant that this position was not equivalent, in violation of
14

     City Disability Policy and that it would be premature for him to return to work because of his
15

16   disability.

17           3.11   Defendant claimed that there was no policy requiring the replacement position to

18
     be equivalent, despite having previously provided Mr. Tang with a copy of the City's Disability
19
     Resource Guide Policy which stated that the replacement position must be equivalent.
20
             3.12   Mr. Tang and his Union, PTE Local 17, requested a Loudermill hearing with the
21
     head of the department which was denied.

             3.13   Defendant failed to engage in the interactive process with Mr. Tang prior to his
23

24   termination,

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      COMPLAINT — Page 3                                                            VANGUARD LAW, LLC

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1           3.14      After further discussions, Defendant falsely asserted that Mr. Tang had

     specifically requested a part-time position as part of his accommodation request. On or about April

3
     of 2018, Mr. Tang was subsequently terminated from his employment without a hearing.
4
            3.15    Defendant justified its termination of employment based on their false assertion
5
     that he had requested a part-time position.
6

            3.16    Mr. Tang and his Union requested an appeal hearing in accordance with the City's
7


8
     personnel policy and collective bargaining agreement.

9           3.17     Defendants agreed to schedule the meeting but have been unresponsive to multiple

10   attempts to reach them regarding the hearing since May of 2018,
11
            3.18     As a result of the City's violations of the law, Mr. Tang has suffered significant
12
     economic and non-economic damages, in an amount to be proven at trial.
13


14

                                    IV.      FIRST CAUSE OF ACTION
15
                                            Disability Discrimination
16                         Violation of the Washington Law Against Discrimination
                                                RCW 49.60.180
17
            4.1      Plaintiff realleges paragraphs 1,1 through 3.18 as though fully set forth herein,
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            4.2      Defendant's actions and omissions including: their failure to reasonably
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20   accommodate Mr. Tang, their failure to engage in the interactive process, their failure to look for

21   an equivalent position, and the separation of employment without engaging in these activities

     constitutes unlawful discrimination in violation of the WLAD, RCW 49.60.180,
23
            4,3      As a result of Defendant's violations, Plaintiff has been damaged in an amount to
24
     be proven at trial.


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      COMPLAINT — Page 4                                                             VANGUARD LAW, LLC

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 1


 2                                V.      SECOND CAUSE OF ACTION
                               Violation of Rights to Procedural Due Process
 3
                                         United States Constitution
 4
             5.1      Plaintiff realleges paragraphs 1.1 through .4.3 as though fully set forth herein,
 5
              5,2     Defendant's actions and omissions constitute a violation of Plaintiff's right to
 6

      procedural due process under the Fourteenth Amendment to the United States Constitution.
 7

              5.3     As a result of Defendant's violations, Plaintiff has been damaged in an amount to

 9    be proven at trial.

10


11
                                     VI.    THIRD CAUSE OF ACTION
                                    Discrimination For Use of Medical Leave
                                                RCW 49.78.300
13
              6.1     Plaintiff realleges paragraphs 1.1 through 5.3 as though fully set forth herein.
14

              6,2     Defendant's actions and omissions constitute discrimination for use of medical
15

16    leave in violation of RCW 49,78.300.

17            6.3     As a result of Defendant's violations, Plaintiff has been damaged in an amount to

18
      be proven at trial.
19
                                    VII.   FOURTH CAUSE OF ACTION
20                                             Retaliation
                                              RCW 49.60.210
21
              7.1     Plaintiff realleges paragraphs 1.1 through 6.3 as though fully set forth herein.

.)3           7.2     Defendant's actions and omissions constitute unlawful retaliation in violation of

?4    RCW 49.60.210.

-)5           7.3     As a result of Defendant's violations, Plaintiff has been damaged in an amount to

26
      be proven at trial.



       COMPLAINT -- Page 5                                                             VANGUARD LAW, LIU

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 1                                VIII. FIFTH CAUSE OF ACTION
                            Wrongful Termination in Violation of Public Policy

            8.1      Plaintiff realleges paragraphs 1,1 through 7.3 as though fully set forth herein.
3

            8.2      Defendant's actions and omissions constitute a wrongful termination in violation

     of Washington public policy.

6           8.3      As a result of Defendant's violations, Plaintiff has been damaged in an amount to
 7
     be proven at trial.


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                                           PRAYER FOR RELIEF
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             WHEREFORE, the Plaintiff respectfully requests that this Court grant the following relief

13   as against Defendant:

14           1.      An order finding that Defendant discriminated against Plaintiff in denying him
15
     reasonable medical accommodations for his disability in violation of the WLAD;
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             2,       An order finding that Defendant violated Plaintiffs Federal constitutional right to
17
     due process;
18

             3.       An order finding that Defendant discriminated against Plaintiff for his use of
19

20   protected medical leave under RCW 49.78;

21           4.       An order granting Plaintiff full back pay, front pay and benefits, including without

     limitation, retirement and pension impacts and other actual monetary losses in an amount to be
23
     proven at trial both with respect to the discriminatory and unconstitutional treatment he suffered;
24
             5.       An order granting Plaintiff an award of damages for all other forms of economic
25
     losses and non-economic losses, including without limitation specific damages resulting from his
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      COMPLAINT — Page 6                                                              VANGUARD LAW, LLC

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      medical costs as a result of the stress and panic attacks he suffered, and general damages for mental

      anguish, emotional distress, and pain and suffering in an amount to be proven at trial;

              6.      An order granting liquidated damages pursuant to RCW 49.78.330;
 4
              7.      An order granting Plaintiff interest, attorneys fees and costs pursuant to RCW
 5
      49,60.030(2), RCW 49.48.030, RCW 49.52.050, and/or RCW 49.78.330 in an amount to be proven
 6
      at trial; and
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 8            8.      Such other and further relief as the Court deems just and equitable.

 9

10            RESPECTFULLY SUBMITTED this 1911) day of November, 2019.
II

12

13
                                             By:
14
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                                                    Zachariah Nathan William Thal, WSBA 55462
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                                                    Attorneys for Plaintiff

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